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                                                                                               FILED IN THE
                                                                                      UNITED STATES DISTRICT COURT
                                                                                           DISTRICT OF HAWAII

                                                                                           Dec 12, 2022
                                                                                       John A. Mannle, Clerk of Court

AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT AND ARREST WARRANT
        I, Marc E. Tunstall, being first duly sworn, herby depose and state as follows:
                               PURPOSE OF THE AFFIDAVIT
        1.     This affidavit is submitted in support of a Criminal Complaint for STEPHEN
TYLER BIENEMAN, charging violation of 18 U.S.C. § l 13(a)(4).

                                BACKGROUND OF AFFIANT

       2.      I am a Deputy U.S. Marshal serving on the Continent of Antarctica at the
McMurdo Station. I have been in this position since 20 September, 2022, and am employed by
the National Science Foundation (NSF), and report to the Hawaii U.S. Marshal District for all
federal legal matters that take place in Antarctica. My primary law enforcement responsibilities
include upholding federal laws for U.S. citizens working in Antarctica either as NSF employees
or persons contracted by NSF. I am a recent graduate of the Federal Law Enforcement Training
Center (FLETC) Criminal Investigator Training Program in Brunswick, GA. I have a Master's
Degree in Aeronautical Science, with an emphasis on human factors. I also have over twenty
years of experience in both conducting and participating in aviation safety investigations.
       3.      Unless otherwise stated, the information in this Affidavit is either personally
know to me, has been provided to me by other individuals, or is based on a review of various
documents, records and reports. Because this Affidavit is submitted for the limited purpose of
establishing probable cause to support an application for an arrest warrant, it does not contain
every fact known by me or the United States. The dates listed in this Affidavit should be read as
"on or about" dates. Unless specifically indicated, all conversations and statements described in
this affidavit are related in substance and in part only and are not intended to be a verbatim
recitation of such statements. All times provided in this affidavit should be read as "on or about"
times and are given in New Zealand Standard Time unless otherwise noted.

              STATEMENT OF FACTS SUPPORTING PROBABLE CAUSE

       4.      The National Science Foundation manages the U.S. Antarctic Program, through
which it budgets for and coordinates the U.S. presence in Antarctica, which is outside the
jurisdiction of any nation. In support of the U.S. Antarctic Program, the U.S. maintains three
permanent stations in Antarctica, including McMurdo Station. Under United States law,
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Antarctica is a "place outside the jurisdiction of any nation with respect to an offense by or
against a national of the United States" within the meaning of 18 U.S.C. § 7(7), thus making
crimes at McMurdo Station fall within the special maritime and territorial jurisdiction of the
United States.
        5.       On 29 November I was informed verbally and via email by the NSF Antarctica
Area Manager, Kevin Pettway, that someone was assaulted on the night of 25 November at
McMurdo Station. Mr. Pettway was notified by the Medical Clinic and was also told that the
victim did not want to disclose their name nor reveal the identity of the assailant. I called the
clinic and spoke to Dr. Chris Martinez. Dr. Martinez informed me that he had a follow up
appointment with the victim at 1:00 PM that day, and said he was going to speak to her about
reporting the incident to me.
        6.       At 2:00 PM Dr. Martinez called me and said that the victim would like to talk to
me with himself and the Sexual Assault Harassment Prevention Response (SAPHR) advocate,
Ms. Jessie Mindlin, present. At 2:30 PM Dr. Martinez, Ms. Mindlin, and a female named
Mercedes Street came to my office. Ms. Street, a U.S. national, informed me that on the night of
24 November she had played a practical joke on a man named STEPHEN TYLER BIENEMAN
in the lounge of dormitory 211. While both were sitting on a sofa next to one another she stated
that she took the name tag off his jacket and said that he couldn't have it back. She then stated
that she stood up right after he did and they moved behind the sofa and he put her on her back,
placed his left shin over her throat, and began going through her coverall pocket. Ms. Street
stated that she couldn't breathe and was taping on his leg with one of her hands making a
choking symbol. After approximately a minute STEPHEN TYLER BIENEMAN found his
name tag in her coverall pocket and then removed his shin from her throat. She then stated that
someone she didn't recognize was standing over her asking if she needed help, and she asked
him to get one of the nurses that resides there in the dormitory. A few minutes later the nurse
arrived and took her back to her room, and then to the medical clinic for treatment. Ms. Street
stated that she knew the assailant, STEPHEN TYLER BIENEMAN, as a casual friend, and that
he worked on the Search and Rescue (SAR) Team. I asked her on a scale of one to ten what her
pain level was while STEPHEN TYLER BIENEMAN had his shin on her throat and she replied
that it was an eight.
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       7.      That afternoon I also spoke to Jonah Pregulman, the nurse who responded after
the assault. Mr. Pregulman stated that on the night of 24 November, while he was sleeping,
someone knocked on his door and said that they needed his help in the lounge. A couple minutes
later, Mr. Pregulman arrived in the lounge where he saw Mercedes Street lying on her back near
the base of a stairwell. He asked ifhe should call 911 and she replied 'no.' He then asked if
could help her to her room and she agreed. After taking her to her room he went back down to
the lounge and asked the people that were there what happened, and no one knew. Shortly after
that Mr. Pregulman called Dr. Martinez and then took Ms. Street to the clinic for treatment. Mr.
Pregulman stated that he remembered four to six other individuals being in the lounge while he
was with Ms. Street.
       8.      That evening I looked on a McMurdo organization chart and pulled up the names
of all the members on the SAR team and then cross referenced their names with the residents of
dormitory 211. I identified five SAR Team members that lived in dormitory 211. On 02
December, I interviewed an SAR Team member named Matthew Jackson. Mr. Jackson stated
that he did reside in dormitory 211 but was not in the lounge on the night of 24 Nov. He further
stated that he heard from the roommate of Mercedes Street that something had happened
involving his coworker STEPHEN TYLER BIENEMAN.
       9.      I interviewed Ben Lumsden. Mr. Lumsden stated he saw Mercedes Street and
STEPHEN TYLER BIENEMAN joking around and then began wrestling out of his view. After
about a minute of it being quiet he remembered STEPHEN TYLER BIENEMAN standing up
over where he believed Ms. Street was lying on the floor and Mr. Bieneman saying "I'm sorry I
didn't mean to hurt you." Mr. Lumsden then said that he saw a thin IT guy with glasses named
Adam standing over Ms. Street asking if she needed help. He then said that Adam went and got
someone named Jonah to help her.
       10.     I confirmed that the thin IT guy with glasses was named Adam Yurkiewitz. I
spoke to Adam and he confirmed that he was in the lounge on the evening of 24 Nov and saw an
incident involving Mercedes Street and STEPHEN TYLER BIENEMAN. Mr. Yurkiewitz stated
that he saw Ms. Street and STEPHEN TYLER BIENEMAN joking around while sitting on a
sofa together, and then remembered them getting up and disappearing from his vantage point.
He stated that about a minute passed before he stood up and saw Ms. Street lying frozen on her
back on the floor. He asked if she needed help and she eventually said the name Jonah. At that
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point he and someone else, who he doesn't know, went and got Jonah from his room in
dormitory 211. Mr. Yurkiewitz said that shortly after Jonah arrived he helped Ms. Street back to
her room.
       11.    Based on the foregoing, there is probable cause to believe that STEPHEN TYLER
BIENEMAN violated 18 U.S.C. § 113(a)(4).
       12.    Upon the arrest of STEPHEN TYLER BIENEMAN in Antarctica for the
violation above, the United States Marshals Service will transport him from McMurdo Station to
New Zealand for continued travel to Honolulu, Hawaii. The District of Hawaii, being the first
district in the United States to which STEPHEN TYLER BIENEMAN will be brought from
Antarctica, will thus have venue over the above violation. See 18 U.S.C. § 3238.

                                                                   Respectfully submitted,


                                                                  ~t'~
                                                                  Marc E. Tunstall
                                                                  Deputy U.S. Marshal
                                                                  NSF Antarctica


Sworn to under oath before me telephonically, and attestation acknowledged pursuant to Federal
                                                12 2022.
Rule of Criminal Procedure 4.1 (b)(2) on December_,
